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                       Exhibit A
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   MAYO CLINIC HEALTH LETTER Mailing List
   Mayo Foundation for Medical Education and Research. Mayo Clinic newsletters are backed by a century of
   patient care medical research and experience at one of the world's foremost medical centers. This eight
   page monthly newsletter provided reliable, accurate and practical information on today's health and
   medical news: Fitness & exercise, medical treatment breakthroughs, nutrition & healthy eating, tips on
   treating and preventing hundreds of illnesses. http://www.mayoclinic.com


                                         Get Count     Get Pricing      Get More Information


   SEGMENTS                                               COUNTS THROUGH 02/20/2024      POPULARITY:       100
       386,510 TOTAL UNIVERSE / BASE RATE                                 $110.00/M      MARKET:       CONSUMER
        27,326 MONTHLY HOTLINE                                           + $15.00/M      CHANNELS:
        89,567 QUARTERLY HOTLINE                                         + $10.00/M      SOURCE:       DIRECT MAIL
       164,121 6 MONTH HOTLINE                                            + $8.00/M      PRIVACY:      UNKNOWN
       386,510 ACTIVE US SUBS                                             $110.00/M      DMA?:         YES - MEMBER
        24,338 12 MONTH COA                                              + $10.00/M      STATUS:       PREFERRED PROVIDER
       338,193 12 MONTH EXPIRES                                            $80.00/M      GEO:          USA
   DESCRIPTION                                                                                         49% FEMALE 40% MALE
                                                                                         GENDER:

                                                                                         SELECTS
                                                                                         1 MONTH HOTLINE           $15.00/M
   Mayo Foundation for Medical Education and                                             3 MONTH HOTLINE           $10.00/M
                                                                                         6 MONTH HOTLINE            $8.00/M
   Research.
                                                                                         CHANGE OF ADDRESS         $10.00/M
                                                                                         GENDER/SEX                $10.00/M
   Mayo Clinic newsletters are backed by a century of patient care medical               SCF                       $10.00/M
                                                                                         STATE                     $10.00/M
   research and experience at one of the world's foremost medical centers.               ZIP                       $10.00/M
                                                                                         ADDRESSING
                                                                                         KEY CODING              $10.00/M
   This eight page monthly newsletter provided reliable, accurate and
                                                                                         CARTRIDGE (FLAT FEE)    $30.00/F
   practical information on today's health and medical news: Fitness &                   DISKETTE (FLAT FEE)     $75.00/F
   exercise, medical treatment breakthroughs, nutrition & healthy eating,                EMAIL DELIVERY (FLAT
                                                                                                                 $75.00/F
                                                                                         FEE)
   tips on treating and preventing hundreds of illnesses.                                FUNDRAISING/NON-PROFIT
                                                                                         KEYING                  $10.00/M
                                                                                         MODEM/FTP/BBS (FLAT
   www.mayoclinic.com                                                                                            $75.00/F
                                                                                         FEE)
                                                                                         RUN CHARGES             $12.00/M
                                                                                         ZIP TAPE (FLAT FEE)    $100.00/F
                                                                                         ZIP+4                    $3.00/M
                                                                                         RELATED LISTS
   Orders which need zip file breakouts of 10 or more will incur a $100/F
                                                                                           WILAND
   fee.                                                                                    NONPROFIT/FUNDRAISING/DONOR
                                                                                           DATABASE
                                                                                           SPECIAL OLYMPICS INTERNATIONAL
   Subscriber Profiles:                                                                    AMERICAN LUNG ASSOCIATION
                                                                                           DONOR MASTERFILE
   Mature - age 60+                                                                        ALZHEIMER'S DISEASE RESEARCH
                                                                                           CONSUMER REPORTS
   College educated
                                                                                           SIMIOAUDIENCE
   Above average incomes                                                                   CONSUMER REPORTS ON HEALTH
                                                                                           LEUKEMIA & LYMPHOMA SOCIETY,
                                                                                           THE
   Catalog and fundraiser rates are available.                                             NATIONAL FOUNDATION FOR
                                                                                           CANCER RESEARCH
                                                                                           AICR - AMERICAN INSTITUTE FOR
   All orders cancelled after merge and/or mail date will be billed at full                CANCER RESEARCH DONORS

   rental rate. Orders cancelled prior to merge will be billed a $150/F fee
   plus $12/M run charges and all applicable selection charges. List
   owner/manager needs to be notified of any cut backs or cancellations
   before the merge happens.

   ORDERING INSTRUCTIONS
          To order this list, contact your List Broker and ask for NextMark List ID
          #153566 or click here to place your request.
          Use NextMark List Order Entry Software or Bionic Media Planning Software
          5,000 NAME MINIMUM ORDER $0.00 MINIMUM PAYMENT

          85% NET NAME AVAILABLE ON ORDERS OF 50,000 OR MORE ($12.00/M RUN
          CHARGE)
          EXCHANGE IS AVAILABLE
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      REUSE IS AVAILABLE

      CANCELLATION FEE AT $150.00/F


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